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                                 UNITED STATES DISTRICT COURT
JEANNETTE J. CLACK                WESTERN DISTRICT OF TEXAS                                 PHILIP J. DEVLIN
  CLERK OF COURT                       501 West 5th Street, Ste. 1100                        CHIEF DEPUTY
                                            Austin, TX 78701


                                              April 24, 2020


     Johnny Saturn
     4710 Gray Fox Dr.
     Austin, TX 78759

     RE: Case No. 1:20-CV-442-LY-SH Saturn v. Austin Bergstrom International Airport

     Dear Mr. Saturn:

     This is to acknowledge receipt of your Complaint in the above captioned case.

     Your case has been assigned docket number 1:20-CV-442-LY and assigned to the Honorable
     Lee Yeakel. The file has been referred to Magistrate Judge Susan Hightower for a
     recommendation on the merits.

             All documents must be filed with the U.S. Clerk’s Office in the following manner:

             An original and one copy of each document, including exhibits, must be submitted to
             the Clerk. If you wish to receive a return copy, you must provide an extra copy.

             Documents must be one-sided so as to conform to the Court’s electronic docket.

             Documents, not including the original complaint or petition, must contain a Certificate
             of Service stating that a true and correct copy of the document was served on each
             defendant or his counsel. This certificate must be attached to the original document and
             copy and should state the date and manner of service, as well as the name of the person
             served.

             Documents must be signed by the moving party and contain the signer’s full contact
             information.

             Documents, including exhibits, must be submitted on paper no larger than 8 ½ x 11 and
             should not be bound in any manner other than with a clip. All staples will be removed to
             accommodate scanning and filing into the electronic docket.

             Documents submitted for filing and any subsequent correspondence in relation to this
             case must reflect the docket number assigned.
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       It is very helpful to the Clerk’s Office if documents, including exhibits, are page
       numbered at the bottom.

To promote electronic access to case files, while also protecting personal privacy, parties shall
refrain from including or shall partially redact the following personal data identifiers from all
documents:

       Social Security Numbers. If an individual’s Social Security Number must be
       included, only the last four digits of that number should be used.

       Names of Minor Children. If the involvement of a minor child must be
       mentioned, only the initials of that child should be used.

       Dates of Birth. If an individual’s date of birth must be included in a document or
       is contained within an exhibit, only the year should be used.

       Financial Account Numbers. If financial account numbers are relevant in a
       document, only the last four digits should be used.

All documents for filing and inquiries concerning the status of your case must be directed to the
Clerk’s Office rather than to the judicial officer to whom the case is assigned. Sending
documents and correspondence directly to the judicial officer may result in unnecessary
delays.

You must keep the court informed of your current address throughout the pendency of
your case. Failure to do so may result in the dismissal of your case for want of prosecution.


                                              Very truly yours,


                                              Deputy Clerk/cj
